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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF KENTUCKY
                          LEXINGTON DIVISION

  RICHARD BARTON, et al.,                 :
                                          :
                                          :
              Plaintiffs,
                                          :
                                          :
       v.                                 :
                                          :      No. 5:24-cv-00249-DCR
  U.S. DEPARTMENT OF LABOR, et            :
  al.,                                    :
                                          :
                                          :
              Defendants.                 :
                                          :

                    DECLARATION OF T. ELLIOT GAISER


      In support of the motion to be admitted pro hac vice for the purpose of repre-

senting Intervenor State of Ohio in the above-referenced action, T. Elliot Gaiser

states the following:

   1. Applicant is an attorney with the Ohio Attorney General's Office, with offices

      at 30 E. Broad St., 17th Floor, Columbus, Ohio 43215.

   2. Applicant is admitted to practice, currently in active standing as an attorney

      in the following United States courts and highest courts of the following States:

      State of Ohio
      US Court of Appeals for the DC Circuit
      US Court of Appeals for the 4th Circuit
      US Court of Appeals for the 5th Circuit
      US Court of Appeals for the 6th Circuit
      US Court of Appeals for the 7th Circuit
      US Court of Appeals for the 8th Circuit
      US Court of Appeals for the 10th Circuit
      US Court of Appeals for the 11th Circuit
      USDC Southern District of Ohio
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      USDC Eastern District of Michigan
      USDC District of North Dakota
      USDC District of Columbia
      United States Supreme Court

   3. Applicant has never been disbarred, suspended from practice or subject to any

      disciplinary action by any court, Bar, or other admitting or licensing authority.

   4. Applicant consents to the jurisdiction and rules of the Kentucky Supreme

      Court governing professional conduct.

   5. Applicant has completed ECF training by viewing the website tutorial, attend-

      ing training sessions hosted by other district courts, reviewing this district's

      written manual, and completing ECF filings in many other district courts.

      I declare under penalty of perjury under the laws of the United States of Amer-

ica that the foregoing is true and correct.

 Executed on October 16, 2024                 /s/ T. Elliot Gaiser
                                              T. ELLIOT GAISER
